
2 N.Y.3d 752 (2004)
In the Matter of the Claim of VLADIMIR KESELMAN, Appellant,
v.
NEW YORK CITY TRANSIT AUTHORITY, Respondent.
WORKERS' COMPENSATION BOARD, Respondent.
Court of Appeals of the State of New York.
Submitted February 2, 2004.
Decided April 1, 2004.
*753 Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed the denial of appellant's application for full Board review, dismissed upon the ground that such portion of the order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied.
